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                     Exhibit 6
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Western High Court's judgment of September 12, 1988, j nr. B 44-1987
Interest rate questions - Loan arrangement - Broker
company - Obsolescence

  ♦ The Western High Court accepted a taxpayer's claim that
    some tax claims regarding the income years 1978 and 1979
    were time-barred because the taxpayer had been denied the
    right to deduct interest expenses relating to a loan
    arrangement with an exchange company for the purchase of
    treasury bills. The High Court found that the tax authorities,
    on the basis of SD's circular of October 29, 1979 on loan
    arrangements, had had reason to immediately raise the tax
    claims in question, instead of awaiting the outcome of an
    investigation concerning the exchange company in question.
Western High Court
Dissent
  In a case brought by a taxpayer against the Ministry of Taxation
before the Western High Court, the Western High Court has
overturned the decision made in 1986 by the Directorate of State
Tax and the Council of Assessment, according to which the
taxpayer was denied the right to deduct the interest expense
relating to a loan arrangement with a money exchange company
with effect for the income years 1978 and 1979. The loan was
taken out to finance the purchase of treasury bills. The applicant
claimed that the claim for residual tax for the years in question
raised as a result of the amended tax assessments was time-
barred under section 1(4) of the Limitation Act of 1908.
  The majority of the Western High Court found that the circular
issued by the Directorate of State Taxation on October 29, 1979
concerning loan arrangements of the nature in question had given
the tax authorities reason to immediately raise the tax claims in
question against the applicant instead of awaiting the results of
the investigations concerning the exchange company in question,
which only began in 1983. The Western High Court therefore
found in favor of the applicant.
  The Ministry of Taxation was ordered to pay DKK 13,500
  in legal costs. One judge dissented.
  This judge considered that there was no basis for assuming that
the tax authorities had been negligent in initiating and conducting
the investigation at the exchange company.




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